           Case 2:17-cv-04275-JAK-PLA Document 59 Filed 01/10/18 Page 1 of 2 Page ID #:591




              1
              2
              3
              4
              5
              6
              7
              8                         UNITED STATES DISTRICT COURT
              9                       CENTRAL DISTRICT OF CALIFORNIA
             10
             11
                  SOUND VIEW INNOVATIONS, LLC,               Case No. 2:17-cv-04275-JAK-PLA
             12
                               Plaintiff,                    ORDER RE STIPULATION OF
             13
                                                             DISMISSAL
             14         v.
                                                             JS-6
             15
                  FACEBOOK, INC.
             16
                               Defendant.
             17
             18
             19
             20
                        On this day, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Sound View
             21
                  Innovations, LLC (“Plaintiff”) and Defendant Facebook, Inc. (“Defendant”)
             22
                  announced to the Court that they have resolved Plaintiff’s claims for relief against
             23
                  Defendant asserted in this case.
             24
                        IT IS THEREFORE ORDERED that all claims asserted by Plaintiff in this
             25
                  action are dismissed with prejudice. IT IS FURTHER ORDERED that all defenses
             26
                  asserted by Defendant in this action are dismissed without prejudice.         IT IS
             27
             28

3786-002
           Case 2:17-cv-04275-JAK-PLA Document 59 Filed 01/10/18 Page 2 of 2 Page ID #:592




              1 FURTHER ORDERED that each party is to bear its own attorneys’ fees, costs and
              2 expenses.
              3 IT IS SO ORDERED.
              4
              5 Dated: January 10, 2018                    ____________________________
              6                                            JOHN A. KRONSTADT
                                                           UNITED STATES DISTRICT JUDGE
              7
              8
              9
             10
             11
             12
             13
             14
             15
             16
             17
             18
             19
             20
             21
             22
             23
             24
             25
             26
             27
             28
                                                       1
3786-002
